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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

HOWARD COHAN,

            Plaintiff,                           Case No. 18-cv-13395
                                                 Hon. Matthew F. Leitman
v.

MAXWELL’S INTERNATIONAL, INC.,

          Defendant.
__________________________________________________________________/

                         ORDER DISMISSING CASE

      Pursuant to the Notice of Voluntary Dismissal With Prejudice by Plaintiff,

this case is DISMISSED with prejudice.

      IT IS SO ORDERED.

                                     s/Matthew F. Leitman
                                     MATTHEW F. LEITMAN
                                     UNITED STATES DISTRICT JUDGE

Dated: March 14, 2019


       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on March 14, 2019, by electronic means and/or
ordinary mail.

                                     s/Holly A. Monda
                                     Case Manager
                                     (810) 341-9764
